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                     UNITED STATES DISTRICT COURT
                      WESTERN DISTRICT OF TEXAS
                            AUSTIN DIVISION


QUICKVAULT, INC.,

                    Plaintiff,                        Case No.: 1:24-cv-00864

      v.

BROADCOM INC., d/b/a BROADCOM                      JURY TRIAL DEMANDED
CORPORATION,

                    Defendant.


                 COMPLAINT FOR PATENT INFRINGEMENT

      1.      QuickVault, Inc. (“QuickVault”) hereby brings this action alleging

that Defendant Broadcom Inc., d/b/a Broadcom Corporation (“Broadcom”)

infringes United States Patent Nos. 9,565,200 (the “’200 Patent”), 9,961,092 (the

“’092 Patent”), 10,999,300 (the “’300 Patent”), 11,637,840 (the “’840 Patent”),

11,895,125 (the “’125 Patent”), 11,880,437 (the “’437 Patent”), and 11,568,029

(the “’029 Patent”) (collectively, the “Asserted Patents”) in violation of the patent

laws of the United States of America, 35 U.S.C. § 1 et seq.

                                 INTRODUCTION

      2.      Due to the ease of insurance and prescription drug fraud, patient

health information is a valuable target for cyber criminals. Healthcare providers

that lose control of patient data violate HIPAA-OCR requirements and are subject

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to fines. QuickVault created its CloudVault® Health business unit in 2015 to

address this serious issue, deploying patented technology to mitigate risks to

healthcare providers when sharing patient records.

      3.      Before CloudVault Health, healthcare providers addressed data

security concerns by piecing together HIPAA secure vaults, encryption software

installed on individual endpoint computers, and expensive perimeter security that

collectively limited access to sensitive data. These solutions did not focus on

automatically discovering and protecting the data itself or tracking and predicting

the behavior of individuals with access to that data.

      4.      QuickVault’s patented technology improves security by scanning

endpoints within a network that, in coordination with a cloud-based server,

automatically discover, classify, and track sensitive information as well as permit

remote remediation of policy violations by, e.g., deleting or encrypting

unauthorized documents on endpoints. QuickVault’s patented technology also

enables healthcare providers to predict policy violations before they occur by

tracking and analyzing user activity, allowing healthcare providers to optimize

security by placing restrictions on high-risk individuals.

      5.      Broadcom’s Symantec Enterprise Cloud, including but not limited to

Symantec Data Loss Prevention and Symantec CloudSOC, provides “information

security protection across endpoints, network, cloud, and storage.” (Symantec

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Data Loss Prevention Product Brief, BROADCOM,

https://docs.broadcom.com/doc/data-loss-prevention-family-en; see also Symantec

Enterprise Cloud, BROADCOM, https://www.broadcom.com/products/cybersecurity

(“Symantec Enterprise Cloud delivers data-centric hybrid security for the largest,

most complex organizations in the world – on devices, in private data centers, and

in the cloud.”); CloudSOC CASB, BROADCOM,

https://www.broadcom.com/products/cybersecurity/information-protection/data-

loss-prevention-cloud/cloud-application-security-cloudsoc.) Symantec Enterprise

Cloud implements QuickVault’s patented technologies without authorization.

      6.      A central aspect of Symantec Enterprise Cloud is the deployment of

agent software on endpoints to detect, classify, and track data as well as to enable

remote administrators to monitor and remediate policy violations. Remote

administrators are alerted to policy violations and granted multiple remediation

options. At least these functions of Symantec Enterprise Cloud practice one or

more claims of the Asserted Patents.

      7.      Symantec VIP uses a multifactor authentication system for managing

user and administrator access, which also practices one or more claims of the

Asserted Patents.




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       8.        Broadcom has made Symantec Enterprise Cloud and Symantec VIP

available to businesses and individuals throughout the United States, including in

this District.

                                      THE PARTIES

       9.        QuickVault is a corporation formed under the laws of Georgia with its

principal office located at 1400 Marketplace Blvd. Ste 226, Cumming, GA, 30041.

       10.       Broadcom is a corporation organized and existing under the laws of

the State of Delaware.

                             JURISDICTION AND VENUE

       11.       This is a civil action for patent infringement arising under the patent

laws of the United States as set forth in 35 U.S.C. §§ 271, et seq.

       12.       This Court has federal subject matter jurisdiction over this action

pursuant to 28 U.S.C. §§ 1331 and 1338(a).

       13.       This Court has personal jurisdiction over Broadcom because

Broadcom has purposefully availed itself to the privilege of conducting activities

within the State of Texas.

       14.       Venue is proper in this District pursuant to 28 U.S.C. §§ 1391(b) and

(c) and 28 U.S.C. § 1400(b) because Broadcom resides in this District, has a

regular and established place of business in this District, and has committed acts of

infringement within this District. For example, Broadcom has an office complex


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located at 6500 River Place Boulevard, Austin, Texas 78730, which, on

information and belief, has roughly 1800 employees. On information and belief,

Broadcom also has about 800 additional employees located in Dallas, Texas.

                           THE ASSERTED PATENTS

      15.    The ’200 Patent, which is entitled “Method and System for Forensic

Data Tracking,” was duly and legally issued to inventors Steven V. Bacastow and

Michael Royd Heuss and assignee QuickVault on February 7, 2017. A true copy

of the ’200 Patent is attached hereto as Exhibit A.

      16.    QuickVault is the owner of the entire right, title, and interest in and to

the ’200 Patent, which is presumed valid under 35 U.S.C. § 282.

      17.    The ’092 Patent, which is entitled “Method and System for Forensic

Data Tracking,” was duly and legally issued to inventors Steven V. Bacastow and

Michael Royd Heuss and assignee QuickVault on May 1, 2018. A true copy of the

’092 Patent is attached hereto as Exhibit B.

      18.    QuickVault is the owner of the entire right, title, and interest in and to

the ’092 Patent, which is presumed valid under 35 U.S.C. § 282.

      19.    The ’300 Patent, which is entitled “Method and System for Forensic

Data Tracking,” was duly and legally issued to inventors Steven V. Bacastow and

Michael Royd Heuss and assignee QuickVault on May 4, 2021. A true copy of the

’300 Patent is attached hereto as Exhibit C.


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      20.    QuickVault is the owner of the entire right, title, and interest in and to

the ’300 Patent, which is presumed valid under 35 U.S.C. § 282.

      21.    The ’840 Patent, which is entitled “Method and System for Forensic

Data Tracking,” was duly and legally issued to inventors Steven V. Bacastow and

Michael Royd Heuss and assignee QuickVault on April 25, 2023. A true copy of

the ’840 Patent is attached hereto as Exhibit D.

      22.    QuickVault is the owner of the entire right, title, and interest in and to

the ’840 Patent, which is presumed valid under 35 U.S.C. § 282.

      23.    The ’125 Patent, which is entitled “Method and System for Forensic

Data Tracking,” was duly and legally issued to inventors Steven V. Bacastow and

Michael Royd Heuss and assignee QuickVault on February 6, 2024. A true copy

of the ’125 Patent is attached hereto as Exhibit E.

      24.    QuickVault is the owner of the entire right, title, and interest in and to

the ’125 Patent, which is presumed valid under 35 U.S.C. § 282.

      25.    The ’437 Patent, which is entitled “Method and System for Remote

Data Access,” was duly and legally issued to inventor Steven V. Bacastow and

assignee QuickVault on January 23, 2024. A true copy of the ’437 Patent is

attached hereto as Exhibit F.

      26.    QuickVault is the owner of the entire right, title, and interest in and to

the ’437 Patent, which is presumed valid under 35 U.S.C. § 282.

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       27.    The ’029 Patent, which is entitled “Method and System for Remote

Data Access,” was duly and legally issued to inventor Steven V. Bacastow and

assignee QuickVault on January 31, 2023. A true copy of the ’029 Patent is

attached hereto as Exhibit G.

       28.    QuickVault is the owner of the entire right, title, and interest in and to

the ’029 Patent, which is presumed valid under 35 U.S.C. § 282.

        COUNT I: PATENT INFRINGEMENT OF THE ’200 PATENT

       29.    QuickVault incorporates by reference each of the above paragraphs as

if fully restated herein.

       30.    Broadcom has directly infringed and continues to directly infringe

under 35 U.S.C. § 271(a), either literally or under the doctrine of equivalents, one

or more claims of the ’200 Patent by making, using, selling, offering to sell, and/or

importing Symantec Enterprise Cloud within the United States.

       31.    Not only does Broadcom infringe by supplying and maintaining

Symantec Enterprise Cloud for its customers, on information and belief Broadcom

uses Symantec Enterprise Cloud internally in an infringing manner.

       32.    A detailed infringement analysis demonstrating how Symantec

Enterprise Cloud practices each and every limitation of claim 1 of the ’200 Patent,

either literally or under the doctrine of equivalents, is provided in Exhibit H.




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       33.    As a result of Broadcom’s direct infringement of the ’200 Patent,

QuickVault has suffered monetary damages and seeks recovery in an amount

adequate to compensate it for Broadcom’s infringement.

      COUNT II: INDIRECT INFRINGEMENT OF THE ’200 PATENT

       34.    QuickVault incorporates by reference each of the above paragraphs as

if fully restated herein.

       35.    Broadcom actively induces infringement of the ’200 Patent by its

customers to whom it provides Symantec Enterprise Cloud under 35 U.S.C. §

271(b). See Exhibit H. By implementing Symantec Enterprise Cloud within their

networks, including inter alia by integrating endpoints into their networks and

using Symantec Enterprise Cloud to monitor and manage those endpoints,

Broadcom’s customers put the invention into service, i.e., control the system as a

whole and obtain benefit from it. Indeed, by using Symantec Enterprise Cloud,

Broadcom’s customers benefit from each claimed component of the invention, for

example because each claimed component contributes to augmenting network

security, network management, and/or data visibility.

       36.    Broadcom has knowledge of the ’200 Patent, of its infringement of the

’200 Patent, and of its customers’ infringement of the ’200 Patent at least as of the

service and filing of this Complaint. Exhibit H provides actual notice to

Broadcom that its making, use, sale, offer for sale, and/or importation of Symantec


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Enterprise Cloud, as well as its customers’ use of Symantec Enterprise Cloud,

infringes the ’200 Patent. Exhibit H provides further notice to Broadcom that its

making, use, sale, offer for sale, and/or importation of Symantec Enterprise Cloud,

as well as its customers’ use of Symantec Enterprise Cloud, infringes the ’200

Patent.

      37.    Broadcom’s continued sale, testing, support, instruction, and

promotion of Symantec Enterprise Cloud to customers and prospective customers

constitutes active encouragement and instruction to infringe the ’200 Patent. For

example, Broadcom’s publication of its “Symantec Enterprise Cloud” website

(Symantec Enterprise Cloud, BROADCOM,

https://www.broadcom.com/products/cybersecurity) intentionally instructs and

encourages customers to use Symantec Enterprise Cloud in infringing manners.

See Exhibit H.

      38.    Upon information and belief, Broadcom has many end user customers

who use Symantec Enterprise Cloud in a manner that directly infringes the ’200

Patent. As a result of Broadcom’s infringement and its customers’ infringement of

the ’200 Patent, QuickVault has suffered monetary damages and seeks recovery in

an amount adequate to compensate it for Broadcom’s infringement.




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       COUNT III: DIRECT INFRINGEMENT OF THE ’092 PATENT

       39.    QuickVault incorporates by reference each of the above paragraphs as

if fully restated herein.

       40.    Broadcom has directly infringed and continues to directly infringe

under 35 U.S.C. § 271(a), either literally or under the doctrine of equivalents, one

or more claims of the ’092 Patent by making, using, selling, offering to sell, and/or

importing Symantec Enterprise Cloud within the United States.

       41.    Not only does Broadcom infringe by supplying and maintaining

Symantec Enterprise Cloud for its customers, on information and belief Broadcom

uses Symantec Enterprise Cloud internally in an infringing manner.

       42.    A detailed infringement analysis demonstrating how Symantec

Enterprise Cloud practices each and every limitation of claim 1 of the ’092 Patent,

either literally or under the doctrine of equivalents, is provided in Exhibit I.

       43.    As a result of Broadcom’s direct infringement of the ’092 Patent,

QuickVault has suffered monetary damages and seeks recovery in an amount

adequate to compensate it for Broadcom’s infringement.

     COUNT IV: INDIRECT INFRINGEMENT OF THE ’092 PATENT

       44.    QuickVault incorporates by reference each of the above paragraphs as

if fully restated herein.




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      45.    Broadcom actively induces infringement of the ’092 Patent by its

customers to whom it provides Symantec Enterprise Cloud under 35 U.S.C. §

271(b). See Exhibit I. By implementing Symantec Enterprise Cloud within their

networks, including inter alia by integrating endpoints into their networks and

using Symantec Enterprise Cloud to monitor and manage those endpoints,

Broadcom’s customers put the invention into service, i.e., control the system as a

whole and obtain benefit from it. Indeed, by using Symantec Enterprise Cloud,

Broadcom’s customers benefit from each claimed component of the invention, for

example because each claimed component contributes to augmenting network

security, network management, and/or data visibility.

      46.    Broadcom has knowledge of the ’092 Patent, of its infringement of the

’092 Patent, and of its customers’ infringement of the ’092 Patent at least as of the

service and filing of this Complaint. Exhibit I provides actual notice to Broadcom

that its making, use, sale, offer for sale, and/or importation of Symantec Enterprise

Cloud, as well as its customers’ use of Symantec Enterprise Cloud, infringes the

’092 Patent. Exhibit I provides further notice to Broadcom that its making, use,

sale, offer for sale, and/or importation of Symantec Enterprise Cloud, as well as its

customers’ use of Symantec Enterprise Cloud, infringes the ’092 Patent.

      47.    Broadcom’s continued sale, testing, support, instruction and

promotion of Symantec Enterprise Cloud to customers and prospective customers

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constitute active encouragement and instruction to infringe the ’092 Patent. For

example, Broadcom’s publication of its “Symantec Enterprise Cloud” website

(Symantec Enterprise Cloud, BROADCOM,

https://www.broadcom.com/products/cybersecurity) intentionally instructs and

encourages customers to use Symantec Enterprise Cloud in infringing manners.

See Exhibit I.

       48.    Upon information and belief, Broadcom has many end user customers

who use Symantec Enterprise Cloud in a manner that directly infringes the ’092

Patent. As a result of Broadcom’s infringement and its customers’ infringement of

the ’092 Patent, QuickVault has suffered monetary damages and seeks recovery in

an amount adequate to compensate it for Broadcom’s infringement.

        COUNT V: DIRECT INFRINGEMENT OF THE ’300 PATENT

       49.    QuickVault incorporates by reference each of the above paragraphs as

if fully restated herein.

       50.    Broadcom has directly infringed and continues to directly infringe

under 35 U.S.C. § 271(a), either literally or under the doctrine of equivalents, one

or more claims of the ’300 Patent by making, using, selling, offering to sell, and/or

importing Symantec Enterprise Cloud within the United States.




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       51.    Not only does Broadcom infringe by supplying and maintaining

Symantec Enterprise Cloud for its customers, on information and belief Broadcom

uses Symantec Enterprise Cloud internally in an infringing manner.

       52.    A detailed infringement analysis demonstrating how Symantec

Enterprise Cloud practices each and every limitation of claim 1 of the ’300 Patent,

either literally or under the doctrine of equivalents, is provided in Exhibit J.

       53.    As a result of Broadcom’s direct infringement of the ’300 Patent,

QuickVault has suffered monetary damages and seeks recovery in an amount

adequate to compensate it for Broadcom’s infringement.

     COUNT VI: INDIRECT INFRINGEMENT OF THE ’300 PATENT

       54.    QuickVault incorporates by reference each of the above paragraphs as

if fully restated herein.

       55.    Broadcom also actively induces infringement of the ’300 Patent by its

customers to whom it provides Symantec Enterprise Cloud under 35 U.S.C. §

271(b). See Exhibit J. By implementing Symantec Enterprise Cloud within their

networks, including inter alia by integrating endpoints into their networks and

using Symantec Enterprise Cloud to monitor and manage those endpoints,

Broadcom’s customers put the invention into service, i.e., control the system as a

whole and obtain benefit from it. Indeed, by using Symantec Enterprise Cloud,

Broadcom’s customers benefit from each claimed component of the invention, for


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example because each claimed component contributes to augmenting network

security, network management, and/or data visibility.

      56.    Broadcom has knowledge of the ’300 Patent, of its infringement of the

’300 Patent, and of its customers’ infringement of the ’300 Patent at least as of the

service and filing of this Complaint. Exhibit J provides actual notice to Broadcom

that its making, use, sale, offer for sale, and/or importation of Symantec Enterprise

Cloud, as well as its customers’ use of Symantec Enterprise Cloud, infringes the

’300 Patent. Exhibit J provides further notice to Broadcom that its making, use,

sale, offer for sale, and/or importation of Symantec Enterprise Cloud, as well as its

customers’ use of Symantec Enterprise Cloud, infringes the ’300 Patent.

      57.    Broadcom’s continued sale, testing, support, instruction and

promotion of Symantec Enterprise Cloud to customers and prospective customers

constitute active encouragement and instruction to infringe the ’300 Patent. For

example, Broadcom’s publication of its “Symantec Enterprise Cloud” website

(Symantec Enterprise Cloud, BROADCOM,

https://www.broadcom.com/products/cybersecurity) intentionally instructs and

encourages customers to use Symantec Enterprise Cloud in infringing manners.

See Exhibit J.

      58.    Upon information and belief, Broadcom has many end user customers

who use Symantec Enterprise Cloud in a manner that directly infringes the ’300

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Patent. As a result of Broadcom’s indirect infringement and its customers’ direct

infringement of the ’300 Patent, QuickVault has suffered monetary damages and

seeks recovery in an amount adequate to compensate it for Broadcom’s

infringement.

      COUNT VII: DIRECT INFRINGEMENT OF THE ’840 PATENT

       59.    QuickVault incorporates by reference each of the above paragraphs as

if fully restated herein.

       60.    Broadcom has directly infringed and continues to directly infringe

under 35 U.S.C. § 271(a), either literally or under the doctrine of equivalents, one

or more claims of the ’840 Patent by making, using, selling, offering to sell, and/or

importing Symantec Enterprise Cloud within the United States.

       61.    Not only does Broadcom infringe by supplying and maintaining

Symantec Enterprise Cloud for its customers, on information and belief Broadcom

uses Symantec Enterprise Cloud internally in an infringing manner.

       62.    A detailed infringement analysis demonstrating how Symantec

Enterprise Cloud practices each and every limitation of claim 1 of the ’840 Patent,

either literally or under the doctrine of equivalents, is provided in Exhibit K. With

respect to the method claims of the ’840 Patent, each of the claim steps are either

performed directly by Broadcom or are otherwise performed by Broadcom’s

customers under Broadcom’s direction and control. Specifically, Broadcom


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conditions participation in an activity (e.g., the use of at least certain aspects of

Broadcom’s platform) or receipt of a benefit (e.g., the improvement in

security/management/visibility achieved by utilizing at least certain aspects of

Broadcom’s platform) upon performance of a step or steps of a patented method

(e.g., any step of the claimed method performed by a customer rather than by

Broadcom directly) and establishes the manner or timing of that performance (e.g.,

by writing and maintaining the software that customers use to perform claim steps,

and by providing instructional materials to customers on how to utilize the system

effectively).

       63.      As a result of Broadcom’s direct infringement of the ’840 Patent,

QuickVault has suffered monetary damages and seeks recovery in an amount

adequate to compensate it for Broadcom’s infringement.

    COUNT VIII: INDIRECT INFRINGEMENT OF THE ’840 PATENT

       64.      QuickVault incorporates by reference each of the above paragraphs as

if fully restated herein.

       65.      Broadcom’s customers practice the claimed methods of the ’840

Patent, such that Broadcom actively induces infringement of the ’840 Patent by its

customers to whom it provides Symantec Enterprise Cloud under 35 U.S.C. §

271(b). See Exhibit K. By implementing Symantec Enterprise Cloud within their

networks, including inter alia by integrating endpoints into their networks and

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using Symantec Enterprise Cloud to monitor and manage those endpoints,

Broadcom’s customers put the invention into service, i.e., control the system as a

whole and obtain benefit from it. Indeed, by using Symantec Enterprise Cloud,

Broadcom’s customers benefit from each claimed component of the invention, for

example because each claimed component contributes to augmenting network

security, network management, and/or data visibility.

      66.     Broadcom has knowledge of the ’840 Patent, of its infringement of the

’840 Patent, and of its customers’ infringement of the ’840 Patent at least as of the

service and filing of this Complaint. Exhibit K provides actual notice to

Broadcom that its making, use, sale, offer for sale, and/or importation of Symantec

Enterprise Cloud, as well as its customers’ use of Symantec Enterprise Cloud,

infringes the ’840 Patent. Exhibit K provides further notice to Broadcom that its

making, use, sale, offer for sale, and/or importation of Symantec Enterprise Cloud,

as well as its customers’ use of Symantec Enterprise Cloud, infringes the ’840

Patent.

      67.     Broadcom’s continued sale, testing, support, instruction and

promotion of Symantec Enterprise Cloud to customers and prospective customers

constitute active encouragement and instruction to infringe the ’840 Patent. See

Exhibit K. For example, Broadcom’s publication of its “Symantec Enterprise

Cloud” website (Symantec Enterprise Cloud, BROADCOM,

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https://www.broadcom.com/products/cybersecurity) intentionally instructs and

encourages customers to use Symantec Enterprise Cloud in infringing manners.

See Exhibit K.

       68.    Upon information and belief, Broadcom has many end user customers

who use Symantec Enterprise Cloud in a manner that directly infringes the ’840

Patent. As a result of Broadcom’s infringement and its customers’ infringement of

the ’840 Patent, QuickVault has suffered monetary damages and seeks recovery in

an amount adequate to compensate it for Broadcom’s infringement.

       COUNT IX: DIRECT INFRINGEMENT OF THE ’125 PATENT

       69.    QuickVault incorporates by reference each of the above paragraphs as

if fully restated herein.

       70.    Broadcom has directly infringed and continues to directly infringe

under 35 U.S.C. § 271(a), either literally or under the doctrine of equivalents, one

or more claims of the ’125 Patent by making, using, selling, offering to sell, and/or

importing Symantec Enterprise Cloud within the United States.

       71.    Not only does Broadcom infringe by supplying and maintaining

Symantec Enterprise Cloud for its customers, on information and belief Broadcom

uses Symantec Enterprise Cloud internally in an infringing manner.

       72.    A detailed infringement analysis demonstrating how Symantec

Enterprise Cloud practices each and every limitation of claim 1 of the ’125 Patent,


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either literally or under the doctrine of equivalents, is provided in Exhibit L. With

respect to the method claims of the ’125 Patent, each of the claim steps are either

performed directly by Broadcom or are otherwise performed by Broadcom’s

customers under Broadcom’s direction and control. Specifically, Broadcom

conditions participation in an activity (e.g., the use of at least certain aspects of

Broadcom’s platform) or receipt of a benefit (e.g., the improvement in

security/management/visibility achieved by utilizing at least certain aspects of

Broadcom’s platform) upon performance of a step or steps of a patented method

(e.g., any step of the claimed method performed by a customer rather than by

Broadcom directly) and establishes the manner or timing of that performance (e.g.,

by writing and maintaining the software that customers use to perform claim steps,

and by providing instructional materials to customers on how to utilize the system

effectively).

       73.      As a result of Broadcom’s direct infringement of the ’125 Patent,

QuickVault has suffered monetary damages and seeks recovery in an amount

adequate to compensate it for Broadcom’s infringement.

     COUNT X: INDIRECT INFRINGEMENT OF THE ’125 PATENT

       74.      QuickVault incorporates by reference each of the above paragraphs as

if fully restated herein.




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      75.      Broadcom also actively induces infringement of the ’125 Patent by its

customers to whom it provides Symantec Enterprise Cloud under 35 U.S.C. §

271(b). See Exhibit L. By implementing Symantec Enterprise Cloud within their

networks, including inter alia by integrating endpoints into their networks and

using Symantec Enterprise Cloud to monitor and manage those endpoints,

Broadcom’s customers put the invention into service, i.e., control the system as a

whole and obtain benefit from it. Indeed, by using Symantec Enterprise Cloud,

Broadcom’s customers benefit from each claimed component of the invention, for

example because each claimed component contributes to augmenting network

security, network management, and/or data visibility.

      76.      Broadcom has knowledge of the ’125 Patent, of its infringement of the

’125 Patent, and of its customers’ infringement of the ’125 Patent at least as of the

service and filing of this Complaint. Exhibit L provides notice to Broadcom that

its making, use, sale, offer for sale, and/or importation of Symantec Enterprise

Cloud, as well as its customers’ use of Symantec Enterprise Cloud, infringes the

’125 Patent.

      77.      Broadcom’s continued sale, testing, support, instruction and

promotion of Symantec Enterprise Cloud to customers and prospective customers

constitute active encouragement and instruction to infringe the ’125 Patent. For

example, Broadcom’s publication of its “Symantec Enterprise Cloud” website

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(Symantec Enterprise Cloud, BROADCOM,

https://www.broadcom.com/products/cybersecurity) intentionally instructs and

encourages customers to use Symantec Enterprise Cloud in infringing manners.

See Exhibit L.

       78.    Upon information and belief, Broadcom has many end user customers

who use Symantec Enterprise Cloud in a manner that directly infringes the ’125

Patent. As a result of Broadcom’s indirect infringement and its customers’ direct

infringement of the ’125 Patent, QuickVault has suffered monetary damages and

seeks recovery in an amount adequate to compensate it for Broadcom’s

infringement.

       COUNT XI: DIRECT INFRINGEMENT OF THE ’437 PATENT

       79.    QuickVault incorporates by reference each of the above paragraphs as

if fully restated herein.

       80.    Broadcom has directly infringed and continues to directly infringe

under 35 U.S.C. § 271(a), either literally or under the doctrine of equivalents, one

or more claims of the ’437 Patent by making, using, selling, offering to sell, and/or

importing Symantec VIP within the United States. Each of the claim steps of the

’437 Patent are either performed directly by Broadcom or are otherwise performed

by Broadcom’s customers under Broadcom’s direction and control. Specifically,

Broadcom conditions participation in an activity (e.g., the use of multifactor


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authentication on Broadcom’s platform) or receipt of a benefit (e.g., the

improvement in security resulting from using multifactor authentication on

Broadcom’s platform) upon performance of a step or steps of a patented method

(e.g., any step of the claimed method performed by a customer rather than by

Broadcom directly) and establishes the manner or timing of that performance (e.g.,

by writing and maintaining the software that customers use to perform claim steps,

and by providing instructional materials to customers on how to perform the claim

steps).

       81.    Not only does Broadcom infringe by supplying and maintaining

Symantec VIP for its customers, on information and belief Broadcom uses

Symantec VIP internally in an infringing manner.

       82.    A detailed infringement analysis demonstrating how Symantec VIP

practices each and every limitation of claim 1 of the ’437 Patent, either literally or

under the doctrine of equivalents, is provided in Exhibit M.

       83.    As a result of Broadcom’s direct infringement of the ’437 Patent,

QuickVault has suffered monetary damages and seeks recovery in an amount

adequate to compensate it for Broadcom’s infringement.

COUNT XII: INDIRECT INFRINGEMENT OF THE ’437 PATENT

       84.    QuickVault incorporates by reference each of the above paragraphs as

if fully restated herein.

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      85.    Broadcom’s customers also practice the claimed methods Broadcom

actively induces infringement of the ’437 Patent by its customers to whom it

provides Symantec VIP under 35 U.S.C. § 271(b). See Exhibit M. By utilizing

Symantec VIP within their networks, including inter alia by using the claimed

multifactor authentication methods in their implementation of Symantec VIP,

Broadcom’s customers put the invention into service, i.e., control the system as a

whole and obtain benefit from it. Indeed, by using Symantec VIP, Broadcom’s

customers benefit from each claimed component of the invention, for example

because each claimed component contributes to augmenting network security.

      86.    Broadcom has knowledge of the ’437 Patent, of its infringement of the

’437 Patent, and of its customers’ infringement of the ’437 Patent at least as of the

service and filing of this Complaint. Exhibit M provides notice to Broadcom that

its making, use, sale, offer for sale, and/or importation of Symantec VIP, as well as

its customers’ use of Symantec VIP, infringes the ’437 Patent.

      87.    Broadcom’s continued sale and promotion of Symantec VIP to

customers and prospective customers constitute active encouragement and

instruction to infringe the ’437 Patent. See Exhibit M. For example, Broadcom’s

publication of its “VIP” website (VIP, BROADCOM,

https://www.broadcom.com/products/identity/vip) intentionally instructs and

encourages customers to use Symantec VIP in infringing manners. See Exhibit M.

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       88.    Upon information and belief, Broadcom has many end user customers

who use Symantec VIP in a manner that directly infringes the ’437 Patent. As a

result of Broadcom’s indirect infringement and its customers’ direct infringement

of the ’437 Patent, QuickVault has suffered monetary damages and seeks recovery

in an amount adequate to compensate it for Broadcom’s infringement.

      COUNT XIII: DIRECT INFRINGEMENT OF THE ’029 PATENT

       89.    QuickVault incorporates by reference each of the above paragraphs as

if fully restated herein.

       90.    Broadcom has directly infringed and continues to directly infringe

under 35 U.S.C. § 271(a), either literally or under the doctrine of equivalents, one

or more claims of the ’029 Patent by making, using, selling, offering to sell, and/or

importing Symantec VIP within the United States. Each of the claimed steps of the

’029 Patent are either performed directly by Broadcom or are otherwise performed

by Broadcom’s customers under Broadcom’s direction and control. Specifically,

Broadcom conditions participation in an activity (e.g., the use of multifactor

authentication on Broadcom’s platform) or receipt of a benefit (e.g., the

improvement in security resulting from using multifactor authentication on

Broadcom’s platform) upon performance of a step or steps of a patented method

(e.g., any step of the claimed method performed by a customer rather than by

Broadcom directly) and establishes the manner or timing of that performance (e.g.,


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by writing and maintaining the software that customers use to perform claim steps,

and by providing instructional materials to customers on how to perform the claim

steps).

       91.    Not only does Broadcom infringe by supplying and maintaining

Symantec VIP for its customers, on information and belief Broadcom uses

Symantec VIP internally in an infringing manner.

       92.    A detailed infringement analysis demonstrating how Symantec VIP

practices each and every limitation of claim 1 of the ’029 Patent, either literally or

under the doctrine of equivalents, is provided in Exhibit N.

       93.    As a result of Broadcom’s direct infringement of the ’029 Patent,

QuickVault has suffered monetary damages and seeks recovery in an amount

adequate to compensate it for Broadcom’s infringement.

    COUNT XIV: INDIRECT INFRINGEMENT OF THE ’029 PATENT

       94.    QuickVault incorporates by reference each of the above paragraphs as

if fully restated herein.

       95.    Broadcom’s customers practice the claimed methods of the ‘029

Patent, such that Broadcom actively induces infringement of the ’029 Patent by its

customers to whom it provides Symantec VIP under 35 U.S.C. § 271(b). See

Exhibit N. By utilizing Symantec VIP within their networks, including inter alia

by using the claimed multifactor authentication methods in their implementation of

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Symantec VIP, Broadcom’s customers put the invention into service, i.e., control

the system as a whole and obtain benefit from it. Indeed, by using Symantec VIP,

Broadcom’s customers benefit from each claimed component of the invention, for

example because each claimed component contributes to augmenting network

security.

      96.    Broadcom has knowledge of the ’029 Patent, of its infringement of the

’029 Patent, and of its customers’ infringement of the ’029 Patent at least as of the

service and filing of this Complaint. Exhibit N provides actual notice to

Broadcom that its making, use, sale, offer for sale, and/or importation of Symantec

VIP, as well as its customers’ use of Symantec VIP, infringes the ’029 Patent.

Exhibit N provides further notice to Broadcom that its making, use, sale, offer for

sale, and/or importation of Symantec VIP, as well as its customers’ use of

Symantec VIP, infringes the ’029 Patent.

      97.    Broadcom’s continued sale, testing, support, instruction and

promotion of Symantec VIP to customers and prospective customers constitute

active encouragement and instruction to infringe the ’029 Patent. For example,

Broadcom’s publication of its “VIP” website (VIP, BROADCOM,

https://www.broadcom.com/products/identity/vip) intentionally instructs and

encourages customers to use Symantec VIP in infringing manners. See Exhibit N.




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          98.   Upon information and belief, Broadcom has many end user customers

who use Symantec VIP in a manner that directly infringes with the ’029 Patent. As

a result of Broadcom’s infringement and its customers’ infringement of the ’029

Patent, QuickVault has suffered monetary damages and seeks recovery in an

amount adequate to compensate it for Broadcom’s infringement.

                                PRAYER FOR RELIEF

          WHEREFORE, Plaintiff QuickVault respectfully requests the following

relief:

          A.    A judgment in favor of QuickVault that Broadcom has infringed,

                either literally and/or under the doctrine of equivalents, each of the

                Asserted Patents;

          B.    An award of damages resulting from Broadcom’s acts of infringement

                in accordance with 35 U.S.C. § 284;

          C.    That this Court order an accounting of damages incurred by

                QuickVault from six years prior to the date this lawsuit was filed

                through the entry of a final, non-appealable judgment;

          D.    That this Court award pre- and post-judgment interest on such

                damages to QuickVault;




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     E.       A judgment and order finding that this is an exceptional case within

              the meaning of 35 U.S.C. § 285 and awarding to QuickVault

              reasonable attorneys’ fees against Broadcom.

     F.       Any and all other relief as the Court deems just and proper.

                          DEMAND FOR JURY TRIAL

     QuickVault respectfully requests a trial by jury on all issues triable thereby.



DATED this 1st day of August, 2024.

                                        RESPECTFULLY SUBMITTED,

                                        By:   /s/Artoush Ohanian
                                              Texas State Bar No. 24013260
                                              H. Artoush Ohanian
                                              OhanianIP
                                              604 West 13th Street
                                              Austin, Texas 78701
                                              Phone: (512) 298-2005
                                              Email: artoush@ohanianip.com

                                              -and-

                                              Steven G. Hill
                                              Georgia Bar No. 354658
                                              Pro Hac Vice Pending
                                              David K. Ludwig
                                              Georgia Bar No. 616971
                                              Pro Hac Vice Pending
                                              Hill, Kertscher & Wharton, LLP
                                              3625 Cumberland Blvd., SE
                                              Suite 1050
                                              Atlanta, Georgia 30339-6406
                                              Tel.: (770) 953-0995

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                                  Email: sgh@hkw-law.com
                                  Email: dludwig@hkw-law.com

                                  Counsel for Plaintiff QuickVault,
                                  Inc.




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